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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


  UNITED STATES OF AMERICA                       )
                                                 )
  v.                                             )       1:14-cr-00230-AJT
                                                 )
  FARHIA HASSAN,                                 )
                                                 )
                 Defendant.


                      DEFENDANT’S NOTICE AND MOTION FOR
                       REVOCATION OF DETENTION ORDER

         PLEASE TAKE NOTICE that on Wednesday, November 10, 2021 at 2:00 p.m.,

  or as soon thereafter as counsel may be heard, the Defendant, Farhia Hassan, by counsel,

  and pursuant to 18 U.S.C. § 3145(b), will move this Honorable Court to revoke the order

  of detention imposed by Magistrate Judge Buchanan on November 4, 2021. ECF No.

  401. Ms. Hassan requests an expedited hearing of this matter pursuant to 18 U.S.C. §

  3145(b), which requires that such motions be determined “promptly.”

                                       BACKGROUND

         Ms. Hassan is a stay-at-home mother of six children. The Government extradited

  her from the Netherlands for participating in a 2012 online chat group with other

  members who discussed giving money to al-Shabaab.1 She is accused of being directly

  responsible for a few hundred dollars. Her extradition proceedings began in 2014,

  shortly after her arrest, and lasted until she was extradited to this Court just last month.

  The FBI transported Ms. Hassan from the Netherlands along with her valid passport.



  1
   The United States had designated al-Shabaab a foreign terrorist organization (FTO) in
  2012; the Netherlands had not.
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           Ms. Hassan did not understand why she was being extradited to the United States

  because she has never been here and she was accused of sending money from the

  Netherlands directly to Africa.2 During the seven-year period of her extradition, she was

  released on conditions and ordered to appear at regular court appearances, which she did.

  Ms. Hassan complied with all conditions of release while she underwent extradition

  proceedings. With court approval, she even took vacations with her family to Belgium,

  France, and the United Kingdom. In the past seven years, Ms. Hassan waited

  continuously for a Dutch court to order her to be extradited to the United States. In that

  case, she would know it was just extradition. Once she was told that she must go to the

  United States, she cooperated and went willingly.

           During the last seven years, Ms. Hassan has been free on bond and compliant with

  her conditions. She is a 38-year-old mother of six who lived at home with her husband

  and children in Terneuzen, Netherlands. Ms. Hassan was originally born in Somalia but

  became a citizen of the Netherlands in 2008 after moving there in 1999. She is in good

  health but suffers from fibromyalgia, a painful form of arthritis. She has no criminal

  record in any country. She has never had any problems with substance abuse or alcohol

  and has never possessed weapons. Ms. Hassan has lived at the same house on 7 Street

  for almost thirteen years now. She wants to go home to that house and her family. Ms.

  Hassan does not desire to prolong this process any further by not appearing for court

  proceedings or disregarding release conditions.

           Two co-defendants of Ms. Hassan have already been found guilty by this Court.

  Pending their trial and sentencing, this Court released the two co-defendants on



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      Ms. Hassan, by counsel, has filed two motions to dismiss. See ECF No. 343, 344.

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  conditions,3 which included unsecured bonds and surrender of their passports. Ms.

  Hassan has family members here in the United States that can act as a third-party

  custodian. Those family members have agreed to secure local housing and reside in the

  Eastern District of Virginia until the conclusion of Ms. Hassan’s case.

                                          ARGUMENT

  I. The Court Must Consider All Reasonable Alternatives To Detention

           A. The Court’s Review of the Detention Order is De Novo

           Pursuant to 18 U.S.C. § 3145(b), this Court has the authority to revoke a detention

  order issued by a magistrate judge upon motion by the defense and such motion shall be

  determined promptly. The district judge’s review of a magistrate judge’s detention order

  is de novo. See United States v. Clark, 865 F.2d 1433, 1437 (4th Cir. 1989). The district

  court must make its own de novo determination of the facts with no deference to the

  findings of the magistrate judge. United States v. Koenig, 912 F.2d 1190, 1192 (9th Cir.

  1990); United States v. Gaviria, 828 F.2d 667, 670 (11th Cir. 1987); United States v.

  Walters, 89 F.Supp. 2d 1217, 1219-20 (D. Kan. 2000). In addition, the district court

  ultimately must decide the propriety of detention with no deference to the legal

  conclusion of the magistrate judge. Id.

           B. The Rebuttable Presumption

           As an initial matter, this is a presumption case because it involves a charge of

  conspiracy to provide material support to a foreign terrorist organization in violation of

  18 U.S.C. § 2339B. See 18 U.S.C. § 3142(e). Therefore, a “rebuttable” presumption

  arises pursuant to the Bail Reform Act (18 U.S.C. § 3142) that no condition or



  3
      See ECF No. 18; ECF No. 26.

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  combination of conditions could reasonably assure the appearance of defendant and the

  safety of the community. However, once a defendant rebuts that presumption, the Court

  must release the defendant on the least restrictive conditions possible that will reasonably

  assure her appearance at trial and prevent danger to any other person or the community.

  Id. §§ 3142(b), (c) & (e).

         In determining whether any combination of conditions is sufficient to assure the

  objectives of pretrial release, the Court cannot read § 3142 to require a guarantee against

  flight or danger. See United States v. Portes, 786 F.2d 758, 764 n.7 (7th Cir. 1985);

  United States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985); United States v. Orta, 760

  F.2d 887 (8th Cir. 1985). Rather, only a reasonable assurance is necessary.

         Once the statutory presumption is raised, then the defendant only has the burden

  of “production” to come forward with “some evidence” to contradict the presumption that

  no conditions exist that will reasonably assure the safety of the community and

  reasonably assure the defendant’s appearance. See United States v. Quartermaine, 913

  F.2d 910, 916 (11th Cir. 1990); United States v. O’Brien, 895 F.2d 810, 815 (1st Cir.

  1990); United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986). This burden of

  production “is not a heavy one to meet.” United States v. Dominguez, 783 F.2d at 707.

  The defendant simply has the burden to produce evidence “to suggest” that he is neither

  dangerous or likely to flee if released on bail. United States v. Quartermaine, 913 F.2d at

  916. The burden of production is merely “to offer some credible evidence contrary to the

  statutory presumption.” United States v. Miller, 625 F.Supp. 513, 519 (D.Kan.1985).

         “Any evidence” favorable to a defendant that comes within a category listed in 18

  U.S.C. §3142(g) can rebut the presumption, including evidence of marital, family and




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  employment status; ties to and role in the community; lack of criminal record; and other

  types of evidence encompassed in §3142(g)(3). United States v. Dominguez, 783 F.2d at

  707.

         C. The Government Has the Burden of Persuasion in a Presumption Case

         Although the statutory presumption under 18 U.S.C. §3142(e) shifts the burden of

  “production” to the defendant, the “burden of persuasion” as to the issue of detention

  does not shift and remains with the government. See United States v. Quartermaine, 913

  F.2d at 916; United States v. Hir, 517 F.3d 1081, 1086 (9th Cir. 2008); United States v.

  Walters, 89 F.Supp.2d at 1220; 3B Wright & Miller, Federal Practice & Procedure §

  765.1. In this regard, the government must prove dangerousness by “clear and

  convincing” evidence, and must prove risk of flight by a “preponderance of the

  evidence.” See United States v. King, 849 F.2d 485, 489 (11th Cir. 1988); 18 U.S.C.

  §3142(f).

         If a defendant proffers evidence to rebut the presumption, the Court must consider

  the four factors identified in 18 U.S.C. §3142(g) in determining whether the government

  has met its burden of persuasion regarding pretrial detention. See United States v. Hir,

  517 F.3d at 1086; United States v. Jackson, 845 F.2d at 1265. In meeting its burden, the

  government cannot simply argue that the statutory presumption, coupled with the

  allegations of the indictment, are alone sufficient to satisfy §3142(g). United States v.

  Jackson, 845 F.2d at 1266. The government is required to make a serious attempt to

  support its request for pretrial detention by offering extrinsic incriminatory evidence. Id.

  Moreover, “the presumption itself would be inadequate to prove dangerousness, so the

  prosecution must introduce other evidence in addition.” United States v. Cox, 635 F.




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  Supp. 1047, 1052 (D. Kan. 1986). Thus, when the presumption is preliminarily rebutted,

  it is improper to base a finding of dangerousness solely on the presumption. United States

  v. Dominguez, 783 F.2d at 707.

         Even if the presumption of dangerousness exists under 18 U.S.C. § 3142(e), the

  defendant cannot be detained unless the government proves, and the court finds, that

  there are no release conditions that will “reasonably assure” the safety of the community.

  See United States v. Hir, 517 F.3d at 1092; United States v. Dominguez, 783 F.2d at 707.

  The Bail Reform Act contemplates only that a court be able to “reasonably assure”, rather

  than guarantee, the safety of the community. United States v. Hir, 517 F.3d at 1092. In

  determining whether any combination of conditions is sufficient to assure the objectives

  of pretrial release, the court cannot read §3142 to require a guarantee against flight or

  danger. See United States v. Portes, 786 F.2d 758, 764 n.7 (7th Cir. 1985); United States

  v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985); United States v. Orta, 760 F.2d 887 (8th

  Cir. 1985).

         The government might place emphasis on the alleged weight of the evidence

  against Ms. Hassan. “[T]he weight of the evidence,” however, “is the least important of

  the various factors” to be considered by the Court. United States v. Motamedi, 767 F.2d

  1403, 1408 (9th Cir. 1985)(emphasis added). The weight of the evidence is the least

  important factor because Ms. Hassan is presumed to be innocent. See § 3142(j). The

  statute neither requires “nor permits” a pretrial determination that the person is guilty,

  and this factor may be considered “only” in terms of the likelihood the person will fail to

  appear or pose a danger to the community. United States v. Motamedi, 767 F.2d at 1408.

  Moreover, “evidence of the commission of a serious crime and the fact of a potentially




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  long sentence” alone is insufficient “to support a finding of risk of flight.” United States

  v. Friedman, 837 F.2d 48, 50 (2d Cir. 1988). Accordingly, the weight of the evidence

  does not require Ms. Hassan to be detained pending trial.

  II. Factors Weigh in Favor of Release in This Case

         As outlined above, this case has spanned seven years. Ms. Hassan was arrested in

  her hometown in the Netherlands in July 2014. Since that time, she remained free on

  bond and compliant with the court system in her country. Ms. Hassan even took a few

  international vacations with her family in Europe. She did not miss any of her court

  appointments and has never been charged with a criminal offense, aside from this case.

  Ms. Hassan remained in contact with her Dutch attorney and with undersigned counsel.

  When she was ordered to be extradited, she complied with the process and surrendered as

  ordered.

         Although Ms. Hassan does not have significant ties to the United States, her

  ability to flee is nonexistent. The FBI has possession of Ms. Hassan’s passport and she

  has virtually no money aside from the small amount deposited to her commissary account

  at the Alexandria Jail. Further, she speaks almost no English. She only knows a few

  family members that live in the Unites States and they have agreed to be third-party

  custodians to this Court. Finally, if Ms. Hassan wanted to flee, she had seven years and

  plenty of opportunities. She chose to comply with the law.

         Without a doubt, Ms. Hassan’s life is in the Netherlands. Her husband, her

  children, her home, and her friends are there. But Ms. Hassan knows that the fastest way

  back to her home is to resolve this case, which she intends to do. She has shown over the

  course of seven years that she is not a risk of flight. Additionally, she is not a danger to




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  the community. She has no record and she is accused of participating in an illegal

  conspiracy through an online chat room.

         Furthermore, Ms. Hassan would adhere to any conditions imposed, to the extent

  the Court has any lingering concerns. Thus, there are a combination of conditions that

  could reasonably assure Ms. Hassan’s appearance in Court and the safety of the

  community, which might include a third-party custodian and electronic monitoring. She

  can reside with a suitable third-party custodian locally in this district. Ms. Hassan would

  also submit to electronic monitoring. Put simply, Ms. Hassan is willing to submit to any

  conditions the Court might impose while she awaits trial.

                                       CONCLUSION

         The defendant respectfully requests that this this Honorable Court to revoke the

  order of detention imposed by Magistrate Judge Buchanan on November 4, 2021 and

  release her on conditions.

                                                Respectfully submitted,
                                                FARHIA HASSAN
                                                By Counsel

                                                CARMICHAEL ELLIS & BROCK, PLLC

                                                ________/s/______________
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                               CERTIFICATE OF SERVICE

          I certify that on November 9, 2021, I electronically filed the foregoing with the
  Clerk of the Court using the CM/ECF system, which will send a notification of such
  filing (NEF) to all parties to this action.



                                                ________/s/_______________
                                                Yancey Ellis




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